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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                     CASE NO. 23-80050-CR-CANNON/REINHART


  UNITED STATES OF AMERICA,

        Plaintiff,

  vs.

  MONFORT DESIR,

        Defendant.
                                     /

          DEFENDANT=S OBJECTIONS TO THE PRESENTENCE
        INVESTIGATION REPORT AND MOTION FOR DOWNWARD
                          VARIANCE

        The Defendant, Monfort Desir, through counsel, files the following

  objections to the Presentence Investigation report (“PSI”) in this case and moves

  for a downward variance. In support thereof, the Defendant states the following:

        I.    The Defendant objects to the use of the 2008 and 2013 Florida
              cocaine convictions as predicates for enhancement under
              U.S.S.G. § 4B1.1 as the statutes of conviction are categorically
              overbroad.

        The Defendant objects to the use of his possession of cocaine with intent to

  sell convictions as “controlled substance offenses” because, at the time of his

  convictions, Florida criminalized a broader definition of cocaine than the federal

  government now does. Specifically, Florida criminalized drug trafficking conduct

  involving a derivative of cocaine called Ioflupane I123, which the federal



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  government previously exempted from its drug schedules in 2015. Schedules of

  Controlled Substances: Removal of [123 I] Ioflupane from Schedule II of the

  Controlled Substances Act, 80 Fed. Reg. 54,715 (Sept. 11, 2015). Florida’s

  exemption of Ioflupane did not take effect until July, 2017. Fla. Stat. §

  893.03(2)(a)(4) (eff. July 2017). Thus, at the time of his cocaine convictions in 2008

  and 2013, the Florida drug statute was categorically broader than the federal

  controlled substances schedules, as it included conduct the federal schedules do

  not.

         It must be noted that in United States v. Jackson, 55 F.4th 846 (11th Cir.

  Dec. 13, 2022), the Eleventh Circuit ruled that the inclusion of Ioflupane in the

  prior Florida definition of cocaine did not render the prior Florida cocaine

  conviction categorically overbroad for purposes of the armed career criminal act,

  because the sentencing court must use the definitions in place in the controlled

  substance act at the time of the prior conviction, and not at the time of the federal

  sentencing for the instant offense. This created a circuit conflict that remains

  pending.1 The Jackson decision is now pending review by the Supreme Court in

  case no. 22-6640.




  1 Four circuits have ruled the opposite of Jackson, providing that the sentencing court
  must look at the federal controlled-substances schedules in effect at the time of the
  federal firearm offense in ACCA cases. See, United States v. Brown, 47 F.4th 147,
  154-55 (3rd Cir. 2022); United States v. Hope, 28 F.4th 487, 504-05 (4th Cir. 2022);
  United States v. Perez, 46 F.4th 691, 699-700 (8th Cir. 2022); United States v.
  Williams, 48 F.4th 1125, 1142-43 (10th Cir. 2022).

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        However, the Jackson ruling was an ACCA case, and not a career offender

  case. The opinion in Jackson did not rule on the effect of the overbroad Florida

  drug statutes in the context of the Sentencing Guidelines. The Court in Jackson

  explicitly differentiated the ACCA claim at issue in that case from the kind of

  Guidelines claim that is at issue herein. Jackson, 55 F.4th 846 (11th Cir. Dec. 13,

  2022) at FN 7 (recognizing that “longstanding principles of statutory

  interpretation allow different results under the Guidelines as opposed to under

  the ACCA,” and specifically “express[ing] no opinion about the correctness of”

  sister circuits’ Guideline rulings) (internal citations omitted). Unlike the decision

  in Jackson, the Guidelines require the court to look at the prior offenses at the

  time of the sentencing. 2

        As noted previously herein, two other Circuits have considered this issue of

  the disparity between prior and present Controlled Substance Acts in the context

  of marijuana offenses under the Guidelines. See United States v. Abdulaziz, 998

  F.3d 519, 523–24 (1st Cir. 2021) (finding, after 2018 Farm Bill, that prior

  Massachusetts marijuana offense, presumably for hemp, was not a “controlled



  2 The Supreme Court, in McNeil v. United States, 563 U.S. 816 (2011), reasoned that
  the ACCA’s use of term “previous convictions” required a “backward-looking” inquiry,
  and showed that the “ACCA is concerned with convictions that have already
  occurred.” Id. at 819-20. As a result, “[i]t cannot be correct that subsequent changes
  in state law can erase an earlier conviction for ACCA purposes.” Id. at 823. The
  Supreme Court thus ultimately held that “the ACCA requires a federal sentencing
  court to consult the maximum sentence applicable to a defendant’s previous drug
  offense at the time of his conviction for that offense.” Id. at 820. This was the basis
  for the ruling in Jackson.

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  substance offense”); United States v. Bautista, 989 F.3d 698, 702 (9th Cir. 2021

  (finding, after 2018 Farm Bill, that prior Arizona marijuana offense, presumably

  for hemp, was not a “controlled substance offense”). Both of those cases have

  striking similarities to the issue in this case (albeit with respect to marijuana

  rather than cocaine). In both cases the prior overbroad drug conviction could not

  be used as a prior controlled substances conviction under the Guidelines.

        Under the categorical approach, this Court must assume that the

  Defendant’s prior cocaine offenses involved the least culpable substance

  encompassed by that “controlled substance” element. Here, that is ioflupane I123,

  and because ioflupan I123 is not a “controlled substance” under federal law, the

  prior offense did not necessarily entail the conduct set out in the Guidelines

  “controlled substance” definition. The Defendant’s prior cocaine offenses are

  therefore, categorically overbroad, and do not qualify under the Guidelines.

         II.   The Defendant moves for a downward variance.

        The PSI provides that the Defendant qualifies for an enhanced sentence

  under U.S.S.G. § 4B1.1 as a “career offender.” [PSI at ¶ 32]. This results in the

  Defendant automatically being treated as if amongst the most recidivist of all

  offenders, with the maximum criminal history category of VI. [PSI at ¶51]. The

  enhancement also causes the Defendant’s offense level to move into a level

  comparable to some of the most serious offense conduct, at level 32. [PSI at ¶ 32].




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  As such, the Defendant’s recommended sentence under the Guidelines greatly

  over-represents his criminal history and the nature of the offense.

        The PSI sets forth two “qualifying” offenses for purposes of § 4B1.1, neither

  of which involve violence or large quantities of narcotics. The two allegedly

  qualifying offenses are: a 2013 sale or delivery of cocaine conviction (PSI at ¶48),

  and a 2008 sale of cocaine conviction (PSI at ¶ 46). The 2008 conviction involved

  20 worth of cocaine. The 2013 conviction involved $100 worth of crack cocaine.

  Absent the 4B1.1 enhancement, the Defendant’s six criminal history points would

  have otherwise resulted in a criminal history category of III. [PSI at ¶ 51].

        Moreover, the instant offense involved a total of 10.894 grams of fentanyl

  (the Government conceded at Mr. Desir’s detention hearing that there is no

  evidence that he was involved in the drug overdose referred to in paragraph 4 of

  the PSI).   The PSI recognizes in paragraph 26 that, but for the career

  offender enhancement, the base offense level would be a 16, and with a 3

  level reduction for acceptance of responsibility along with his

  unenhanced criminal history category III, the advisory imprisonment

  range would be 18 to 24 months.

        Mr. Desir is not a drug importer, wholesaler, or large-scale distributor.   He

  is a very low-level figure in the billion dollar drug trade.   He and his mother

  struggled as he grew up. He turned to alcohol to help deal with his struggles. His

  sisters, from whom the Court will hear, are very supportive and wish he had come



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  to them for financial help.   Their support, along with alcohol-abuse counseling,

  will go a long way to prevent recidivism by Mr. Desir.

        For all the above reasons, the Defendant requests a sentence that is more

  in line with the unenhanced advisory imprisonment range.        Such a sentence

  would be sufficient but not greater than necessary to fulfill the sentencing goals

  of 18 U.S.C. §3553(a).

        WHEREFORE, the Defendant files the above objections to the PSI and

  moves for a downward variance.

                                        Respectfully submitted,

                                        MICHAEL CARUSO
                                        FEDERAL PUBLIC DEFENDER

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                            CERTIFICATE OF SERVICE

        I HEREBY certify that on August 28, 2023, I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF. I also certify that

  the foregoing document is being served this day on all counsel of record via

  transmission of Notices of Electronic Filing generated by CM/ECF or in some

  other authorized manner for those counsel or parties who are not authorized to

  receive electronically Notices of Electronic Filing.

                                         By:       s/ Robert E. Adler AFPD




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